
PETER WAGNER V. FEDERAL HOME LOAN






NO. 07-09-0246-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



SEPTEMBER 10, 2009

______________________________



PETER D. WAGNER, APPELLANT



V.



FEDERAL HOME LOAN MORTGAGE CORPORATION, APPELLEE

_________________________________



FROM THE COUNTY COURT AT LAW NO. 4 OF WILLIAMSON COUNTY;



NO. 09-0640-CC4; HONORABLE JOHN MCMASTER, JUDGE

_______________________________





Before CAMPBELL and HANCOCK and PIRTLE, JJ.

MEMORANDUM OPINION

On June 5, 2009, appellant, Peter D. Wagner, filed his notice of appeal. &nbsp;&nbsp;By letter dated June 8, Wagner was informed by the trial court clerk, as to the costs for the preparation of the clerk’s record. &nbsp;On July 24, Wagner was informed of the transfer of his case from the Third Court of Appeals to the Seventh Court of Appeals and informed that all future correspondence was to be addressed to the Seventh Court of Appeals. &nbsp;On August 12, Wagner was informed by this court of his continuing failure to make arrangements for the preparation of the clerk’s record as well as his failure to request the reporter’s record. &nbsp;On that date, Wagner was given the opportunity to pay or make arrangements for the preparation of the clerk’s record, 
Tex. R. App. P. 
37.3(b), as well as pay or make arrangements for the preparation of the reporter’s record, 
Tex. R. App. P
. 37.3(c). &nbsp;Wagner was informed that failure to make the appropriate arrangements by September 1, 2009, could result in the dismissal of his appeal for want of prosecution. &nbsp;
Tex. R. App. P. 
37.3(b).

 	As of this date, the Court has not received any response from Wagner. &nbsp;Accordingly, this appeal is dismissed. &nbsp;
Tex. R. App. P
. 42.3.



Mackey K. Hancock

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice












